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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ye iy at We ee)
- VV. _

GREGORY REED,

a/k/a “Sharkey, ”
JOHN JOHNSON, and
RONNIE GONZALEZ,

a/k/a “Satan,”

Defendants.
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COUNT ONE
The Grand Jury charges:
1. From at least in or about November 2007, up to and

including on or about December 1, 2007, in the Southern District
of New York and elsewhere, GREGORY REED, a/k/a “Sharkey,” JOHN
JOHNSON, and RONNIE GONZALEZ, a/k/a “Satan,” the defendants, and
others known and unknown, knowingly did combine, conspire,
confederate, and agree together and with each other to commit
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b) (1), and would and did thereby obstruct, delay,
and affect commerce and the movement of articles and commodities
in commerce, as that term is defined in Title 18, United States
Code, Section 1951(b) (3), to wit, REED, JOHNSON, and GONZALEZ,
and others known and unknown, agreed to commit a robbery of

individuals believed to be in possession of narcotics and
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narcotics proceeds, in the vicinity of 1275 Lafayette Avenue,
Bronx, New York.

(Title 18, United States Code, Section 1951.)

COUNT TWO

The Grand Jury further charges:

2. On or about December 1, 2007, in the Southern
District of New York, GREGORY REED, a/k/a “Sharkey,” JOHN
JOHNSON, and RONNIE GONZALEZ, a/k/a “Satan,” the defendants,
knowingly attempted to commit robbery, as that term is defined in
Title 18, United States Code, Section 1951(b) (1), and would
thereby have obstructed, delayed, and affected commerce and the
movement of articles and commodities in commerce, as that term is
defined in Title 18, United States Code, Section 1951(b) (3), to
wit, REED, JOHNSON, and GONZALEZ attempted to rob individuals of
their narcotics and narcotics proceeds in the vicinity of 1275
Lafayette Avenue, Bronx, New York, and, in the course thereof,
killed, and aided and abetted the killing of one of the intended
victims of the robbery.

(Title 18, United States Code, Sections 1951 and 2.)

COUNT THREE

The Grand Jury further charges:
3. On or about December 1, 2007, in the Southern
District of New York, GREGORY REED, a/k/a “Sharkey,” JOHN

JOHNSON, and RONNIE GONZALEZ, a/k/a “Satan,” the defendants,
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willfully and knowingly, during and in relation to a crime of
violence for which he may be prosecuted in a court of the United
States, namely, the robbery offenses charged in Counts One and
Two of this Indictment, did use and carry a firearm, and, in
furtherance of such crime, did possess a firearm, and did aid and
abet the use, carrying, and possession of a firearm, and in the
course thereof did cause the death of a person through the use of
a firearm, which killing is murder as defined in Title 18, United
States Code, Section 1111(a), to wit, REED, JOHNSON, and GONZALEZ
caused the death of Bernardo Garcia, by discharging, and aiding
and abetting the discharge, of a firearm at Garcia in the
vicinity of 1275 Lafayette Avenue, Bronx, New York.

(Title 18, United States Code, Sections 924(j) and 2.)

SPECIAL FINDINGS AS TO GREGORY REED

Counts One through Three of the Indictment are re-alleged
and incorporated by reference as though fully set forth herein.
As to Counts One through Three of the Indictment, alleging the
murder of Bernardo Garcia during an attempted Hobbs Act robbery,
the defendant GREGORY REED, a/k/a “Sharkey”:

a. was 18 years of age or older at the time of
the offense;

b. intentionally and specifically engaged in an
act of violence, knowing that the act created a grave risk of

death to a person, other than one of the participants in the
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offense, such that participation in the act constituted a
reckless disregard for human life and Bernardo Garcia died as a
direct result of the act, (Title 18, United States Code, Section
3591 (a) (2) (D));

Cc. knowingly created a grave risk of death to 1
or more persons in addition to the victim of the offense by
committing the offenses described in Counts One through Three of
the Indictment, (Title 18, United States Code, Section
3592(c)(5)); and

d. committed the offenses described in Counts
One through Three of the Indictment in the expectation of the
receipt of something of pecuniary value, to wit, narcotics and
money (Title 18, United States Code, Section 3592(c) (8)).

SPECIAL FINDINGS AS TO JOHN JOHNSON

Counts One through Three of the Indictment are re-alleged
and incorporated by reference as though fully set forth herein.
As to Counts One through Three of the Indictment, alleging the
murder of Bernardo Garcia during an attempted Hobbs Act robbery,
the defendant JOHN JOHNSON:

a. was 18 years of age or older at the time of
the offense;

b. intentionally and specifically engaged in an
act of violence, knowing that the act created a grave risk of

death to a person, other than one of the participants in the
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offense, such that participation in the act constituted a
reckless disregard for human life and Bernardo Garcia died as a
direct result of the act, (Title 18, United States Code, Section
3591 (a) (2) (D));

Cc. knowingly created a grave risk of death to 1
or more persons in addition to the victim of the offense by
committing the offenses described in Counts One through Three of
the Indictment, (Title 18, United States Code, Section
3592(c)(5)); and

d. committed the offenses described in Counts
One through Three of the Indictment in the expectation of the
receipt of something of pecuniary value, to wit, narcotics and
money (Title 18, United States Code, Section 3592(c)(8)).

SPECIAL FINDINGS AS TO RONNIE GONZALEZ

Counts One through Three of the Indictment are re-alleged
and incorporated by reference as though fully set forth herein.
As to Counts One through Three of the Indictment, alleging the
murder of Bernardo Garcia during an attempted Hobbs Act robbery,
the defendant RONNIE GONZALEZ, a/k/a “Satan”:

a. was 18 years of age or older at the time of
the offense;

b. intentionally and specifically engaged in an
act of violence, knowing that the act created a grave risk of

death to a person, other than one of the participants in the
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offense, such that participation in the act constituted a
reckless disregard for human life and Bernardo Garcia died as a
direct result of the act, (Title 18, United States Code, Section
3591 (a) (2) (D));

Cc. knowingly created a grave risk of death to 1
or more persons in addition to the victim of the offense by
committing the offenses described in Counts One through Three of
the Indictment, (Title 18, United States Code, Section
3592(c) (5));

d. committed the offenses described in Counts
One through Three of the Indictment in the expectation of the
receipt of something of pecuniary value, to wit, narcotics and
money (Title 18, United States Code, Section 3592(c) (8)); and

e. had previously been convicted of a federal
drug offense for which a sentence of five or more years may be
imposed, to wit, a conviction on or about December 11, 1998, in
the United States District Court for the Southern District of New
York, of conspiracy to possess, and to possess with the intent to
distribute, a controlled substance, in violation of Title 21,
United States Code, Section 846 (Title 18, United States Code,

Section 3592(c)(12)).

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United States Attorney
